        Case 1:22-mj-00221-RMM Document 15 Filed 02/14/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
              v.                             :
                                             :      Case No.: 22-MJ-221
JOHN O’KELLY,                                :
                                             :
              Defendant.                     :

                      NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney (AUSA) Nathaniel K. Whitesel. AUSA Nathaniel K. Whitesel

will be substituting for AUSA Emily Allen.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052


                            By:              /s/ Nathaniel K. Whitesel
                                             NATHANIEL K. WHITESEL
                                             Assistant United States Attorney
                                             DC Bar No. 1601102
                                             United States Attorney’s Office
                                             District of Columbia
                                             Cell No. (202) 252-7759
                                             Nathaniel.Whitesel@usdoj.gov


                               CERTIFICATE OF SERVICE

        On this 14th day of February 2023, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                    /s/ Nathaniel K. Whitesel
                                                    NATHANIEL K. WHITESEL
                                                    Assistant United States Attorney
